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                        UNITED STATES D ISN CT COUR T
                        SOUTIV RN DISTRICT OF FLOIUDA
                               M IAM ID IW SION

                        CaseNo.23-20500-CR-M TMAN/B/CERRA (SEM ED)



 U N ITED STA TES O F A M ER ICA ,
            Plaintiff,


 V.



 CarlosA .Guerrero B lanco,eta1.,
               Defendantts).
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          THIS CXUSE came before the Courtand pttrsuantto proceedings it is

 thereupon,PUR SUM T TO Tl1E ARREST OF T1-1E ABOW NAW D

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